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                   UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

In re: MICHAEL O. FLOWERS &                  )
       MARINDA L. FLOWERS,                   )       Case No. 22-10808-JDL
                                             )       Chapter 13
                               Debtor(s)     )

 DEBTOR’S OBJECTION TO AMENDED MOTION FOR ORDER LIFTING THE
            AUTOMATIC STAY WITH BRIEF IN SUPPORT

       Debtors, Michael O. Flowers and Marinda L. Flowers, hereby object to Bonda,

LLC’s Amended Motion For Order Lifting the Automatic Stay and in support thereof

would allege and state as follows:

       1. The Debtor’s filed for Chapter 13 Bankruptcy on April 25, 2022.

       2. The Debtor’s 341/Confirmation Hearing is currently scheduled for June 16,

           2022, at 8:15 am.

       3. The Debtor’s Chapter 13 Plan proposes to pay 100% back to all general

unsecured creditors which includes the claim of Bonda, LLC, in the amount of

$18,250.00.

       4. Debtor’s hereby incorporates the Chapter 13 Trustee’s limited Objection to

Bonda, LLC being granted relief from the automatic stay and request that Bonda, LLC’s

relief be limited to determining liability and damages.

       5. The only basis for Bonda’s motion for relief is that it wants to continue

litigation in state court where it has already begun. Had Bonda already obtained a

judgment in its state court action, Bonda would not have any grounds or need to seek

relief from the automatic stay.
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       Wherefore, premises considered, Debtors pray that Bonda, LLC’s Amended

Motion for Order Lifting the Automatic Stay be denied or limited in the scope of the

relief sought.

                                     MICHAEL AND MARINDA FLOWERS

                                     By: /s/ o. Clifton Gooding
                                        O. CLIFTON GOODING (OBA #10315)

                                     OF THE FIRM:

                                     GOODING LAW FIRM
                                     A Professional Corporation
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                                     Attorneys for MICHAEL AND MARINDA
                                     FLOWERS


                               NOTICE OF HEARING

       You are hereby notified that a hearing on the Amended Motion for Order
Lifting the Automatic Stay filed by Bonda, LLC is set for hearing on June 28, 2022,
at 2:00 p.m. before the Honorable Janice D. Loyd, in the 2nd Floor Courtroom, US
Bankruptcy Court for the Western District, 215 Dean A. McGee, Oklahoma City,
Oklahoma 73102.

                            CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of June 2022 copies of the above referenced
document were forwarded via U.S. Mail, first class, postage prepaid and properly
addressed to the following at the addresses listed below:

Michael and Marina Flowers
15228 Claremont Blvd
Edmond, OK 73013

                                             /s/ O. Clifton Gooding ____________
                                             O. Clifton Gooding




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